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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

THE TRAVELERS INDEMNITY COMPANY,                           Civil Action No. 3:23-CV-00783 (JCH)

                           Plaintiff,

       v.

DYNAMIC ONLINE MARKETING                                   October 11, 2023
CORPORATION, INC.,

                           Defendant.


              STATUS REPORT REGARDING RESOLUTION IN PRINCIPLE

       Pursuant to the Court’s September 26, 2023 order staying the above-referenced case (ECF

22), Plaintiff The Travelers Indemnity Company notifies the Court that despite the parties’

resolution in principle, the parties have been unable to execute consent judgment papers to be filed

in this matter. Accordingly, Plaintiff requests that the Court’s September 26, 2023 stay be lifted

and that Plaintiff be given until October 20, 2023 to file a motion to enforce the parties’ resolution

in principle or, in the alternative and pursuant to Fed. R. Civ. P. 55(a), a request for the clerk to

enter default against Defendant Dynamic Online Marketing Corporation.
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PLAINTIFF THE TRAVELERS
INDEMNITY COMPANY



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                                        CERTIFICATION

       I hereby certify that on October 11, 2023, a copy of foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by

e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone unable

to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the Court’s CM/ECF System.

                                                       /s/ Caitlin M. Barrett
                                                          Caitlin M. Barrett (ct31379)




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